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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                                 §
                                                       §
ELECTROTEK CORPORATION,                                §         CASE NO. 21-30409-mvl
                                                       §         Chapter 11
        Debtor.                                        §

            DEBTOR’S PLAN OF REORGANIZATION DATED APRIL 26, 2021

        COMES NOW Electrotek Corporation, the debtor in this Bankruptcy Case (the “Debtor”),
and files this its Plan of Reorganization (the “Plan”). Electrotek is a manufacturer and supplier of
printed circuit boards, operating since 1968. The Debtor’s plant and daily operations are located
in Oak Creek, Wisconsin, and its principal headquarters and business offices are located in
Carrolton, Texas.

      The sources and uses of income to fund the Plan are described in more detail in the Disclosure
Statement accompanying this Plan. Periodic financial reports will be filed with the Court, as
required by the Bankruptcy Code, covering the profitability, projections of cash receipts and
disbursements for a reasonable period. These reports shall be available on the Court’s PACER site
using the Debtor’s name and/or case number as referenced above or can be also obtained from
Debtor’s counsel by written request.




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                                          ARTICLE I
                                DEFINITIONS AND USE OF TERMS

       1.01 Defined Terms. Unless the context otherwise requires, capitalized terms shall have
the meanings set forth in this section 1.01.

        “Administrative Expense Claim” means an administrative expense or claim described in
        Bankruptcy Code § 503 and entitled to administrative priority pursuant to Bankruptcy Code
        § 507(a)(1), including, but not limited to, Fee Claims.

        “Allowed Amount” means the amount of any Allowed Claim.

        “Allowed Claim” means a Claim against the Debtor allowable under the Bankruptcy Code
        to the extent that: (i) a Proof of Claim or request for payment was timely filed, or, with
        leave of the Bankruptcy Court, late filed, and as to which no objection has been timely filed
        with the Bankruptcy Court, or, if filed, is allowed by a Final Order, unless otherwise
        provided in this Plan; (ii) the Claim is scheduled and not listed as disputed, contingent, or
        unliquidated, and no objection has been timely filed or, if filed, is allowed by a Final Order;
        or (iii) with respect to an Administrative Expense Claim or Fee Claim, the Administrative
        Expense Claim or Fee Claim has been approved by a Final Order upon notice and
        application to the Bankruptcy Court.

        “Assets” means property of the Estate.

        “Avoidance Actions” means any and all rights, claims, and causes of action which a
        trustee, Debtor, or other appropriate party in interest would be able to assert on behalf of
        the Estate under applicable state statutes or the avoidance provisions of chapter 5 of the
        Bankruptcy Code, including actions under one or more of the provisions of Bankruptcy
        Code §§ 506, 542-551, and 553.

        “Bankruptcy Case” or “Case” means this bankruptcy case: Case No. 21-30409 in the
        name of Electrotek Corporation, pending before the Bankruptcy Court.

        “Bankruptcy Code” or “Code” means the United States Bankruptcy Code, 11 U.S.C. §§
        101, et seq., as amended.

        “Bankruptcy Court” or “Court” means the United States Bankruptcy Court for the
        Northern District of Texas, Dallas Division, or other such court that may have jurisdiction
        with respect to the reorganization of the Debtor pursuant to Chapter 11 of the Bankruptcy
        Code.

        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as amended, and
        “Bankruptcy Rule” refers to a specific rule therein.

        “Bar Date” means May 17, 2021, the deadline established by the Bankruptcy Court
        pursuant to Bankruptcy Rule 3003(c)(3), after which any Proof of Claim may not be timely
        filed, except Claims held by governmental agencies.


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        “Business Day” shall mean any day that is not a Saturday, Sunday, or one of the legal
        holidays listed in Bankruptcy Rule 9006(a).

        “Claim” shall have the meaning set forth in Bankruptcy Code § 101(5).

        “Claimant” or “Creditor” means the holder of a Claim.

        “Class” means any class into which Claims are classified pursuant to the Plan. Each
        subclass of a class shall be treated as a separate class.

        “Collateral” means the real or personal property securing a Secured Claim.

        “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order.

        “Confirmation Date” means the date on which the Order confirming this Plan is entered.

        “Confirmation Hearing” means the hearing or hearings held before the Bankruptcy
        Court in which the Debtors will seek Confirmation of this Plan.

        “Confirmation Order” means the Order confirming this Plan.

        “Contested” when used with respect to a Claim, means a Claim against the Debtor: (i)
        that is listed in the Debtor’s Schedules of Assets and Liabilities as disputed, contingent,
        or unliquidated; (ii) that is listed in the Debtor’s Schedules of Assets and Liabilities as
        undisputed, liquidated, and not contingent and as to which a Proof of Claim has been
        filed with the Bankruptcy Court, to the extent the Proof of Claim amount exceeds the
        scheduled amount; (iii) that is the subject of a pending action in a forum other than the
        Bankruptcy Court unless such Claim has been determined by Final Order in such other
        forum and Allowed by Final Order of the Bankruptcy Court; or (iv) as to which an
        objection has been or may be timely filed and has not been denied by Final Order. To the
        extent an objection relates to the allowance of only a part of a Claim, such Claim shall be
        a Contested Claim only to the extent of the objection.

         “Debtor” means Electrotek Corporation, the Debtor herein. Where the context so
        requires, “Debtor” shall also include the Reorganized Debtor.

        “Disputed” with respect to a Claim means either: (i) a Claim which has been objected to
        by the Debtor; or (ii) a Claim that is listed on the Debtor’s bankruptcy schedules as
        “disputed, contingent or unliquidated” and for which such Creditor or Interest holder has
        not filed a Proof of Claim.

        “Effective Date” means the thirtieth (30th) day after the Confirmation Date.

        “Estate” means the bankruptcy estate of the Debtor in this Case.

        “Fee Claim” means a Claim under Bankruptcy Code §§ 330 or 503 for allowance of
        compensation and reimbursement of expenses to professionals in this Bankruptcy Case.



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        “Fee Application” means an application filed with the Bankruptcy Court for allowance
        of a Fee Claim.

        “Final Order” means an Order as to which any appeal that has been taken has not been
        stayed following the expiration of the time for appeal or has been resolved, or as to which
        the time for appeal has expired.

        “Impaired” means the treatment of an Allowed Claim or Interest pursuant to the Plan
        unless, with respect to such Claim or Interest, either: (i) the Plan leaves unaltered the
        legal, equitable and contractual rights to which such Claim or Interest entitles the holder
        of such Claim or Interest; (ii) notwithstanding any contractual provision or applicable law
        that entitles the holder of such Claim or Interest to demand or receive accelerated payment
        of such Claim or Interest after occurrence of a default, the Debtor (A) cures any default
        that occurred before or after the commencement of the Chapter 11 Case on the Petition
        Date, other than default of the kind specified in § 365(b)(2) of the Bankruptcy Code; (B)
        reinstates the maturity of such Claim or Interest as such maturity existed before such
        default; (C) compensates the holder of such Claim or Interest for any damages incurred
        as a result of any reasonable reliance by such holder on such contractual provision or such
        applicable law; and (D) does not otherwise alter the legal, equitable or contractual rights
        to which such Claim or Interest entitles the holder of such Claim or Interest; or (iii) the
        Plan provides that on the Effective Date, the holder of such Claim or Interest receives, on
        account of such Claim or Interest, cash equal to the Allowed Amount of such Claim or
        Interest.

        “Insider” has the meaning provided by § 101(31) of the Bankruptcy Code.

        “Interest” means any equity or ownership interest in the Debtor.

         “Lien” means any charge against or interest in property to secure payment of debt or
        performance of an obligation and includes a judicial lien, security interest, and deed of
        trust, mortgage and property tax lien.

        “Order” means an Order of the Bankruptcy Court.

         “Petition Date” means March 8, 2021, the date on which the Debtor filed its voluntary
        petition under Chapter 11 of the Bankruptcy Code.

        “Plan” means this Plan of Reorganization, including any amendments, modifications or
        corrections made thereto pursuant to the Bankruptcy Code.

        “Priority Tax Claim” means a Claim entitled to priority pursuant to Bankruptcy Code §
        507(a)(8).

        “Priority Wage Claim” means a Claim entitled to priority pursuant to Bankruptcy Code
        § 507(a)(4).

        “Priority Unsecured Claim” means an Unsecured Claim entitled to priority under
        Bankruptcy Code § 507(a), except Priority Tax Claims and Priority Wage Claims.

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        “Proof of Claim” means a written statement setting forth a Creditor’s Claim filed in this
        Case and conforming substantially to the appropriate official form.

        “Reorganized Debtor” means the Debtor as it exists after Confirmation of the Plan.

        “Schedules and Statements” means the Debtor’s bankruptcy schedules A/B, D-H and the
        Statement of Financial Affairs.

        “Secured Claim” means a Claim that is secured within the meaning of Bankruptcy Code
        §506(a). Should the value of the Collateral securing a Secured Claim be less than the
        amount of the Claim, the Claim will be bifurcated into a Secured Claim equal to the value
        of the Collateral and a general Unsecured Claim for the remainder, pursuant to Bankruptcy
        Code §506(d).

        “Unsecured Claim” means any Claim that is not a Secured Claim or an Administrative
        Expense Claim and that is not entitled to priority treatment under Bankruptcy Code § 507.

                                          ARTICLE II
                                      CONCEPT OF THE PLAN

        2.01 The Plan is a Plan of Reorganization. Electrotek is a manufacturer and supplier of
printed circuit boards, operating since 1968. The Debtor’s plant and daily operations are located
in Oak Creek, Wisconsin, and its principal offices are located in Carrolton, Texas. Pursuant to the
Plan, the Debtor will make payments to creditors from available cash and income from its ongoing
business operations.

      2.02 The Plan proposes to pay Secured Claims in full and pay a 20% return to Allowed
Unsecured Claims over 12 months. The details of the Plan are set out in Article VI of this
document.

                                       ARTICLE III
                              GENERAL TERMS AND CONDITIONS

       3.01      Treatment of Claims. This Plan is intended to resolve all Claims against the
Debtor and/or property of the Debtor of whatever character, whether contingent or liquidated, or
whether allowed by the Bankruptcy Court pursuant to Bankruptcy Code Section 502(a). However,
only Allowed Claims will receive payments under the Plan. The Plan is designed to ensure that
Claimants shall receive at least as much pursuant to this Plan as they would receive in a liquidation
pursuant to Chapter 7 of the Bankruptcy Code.

        3.02     Time for Filing Claims. The holder of any Administrative Claim other than (i) a
Fee Claim, (ii) a liability incurred and paid in the ordinary course of business by the Debtor, or
(iii) an Allowed Administrative Claim, must file with the Bankruptcy Court and serve on the
Debtor and its respective counsel, notice of such Administrative Claim within thirty (30) days after
the Effective Date. At a minimum, such notice must identify (i) the name of the holder of such
Claim, (ii) the amount of such Claim, and (iii) the basis of such Claim. Failure to file this notice
timely and properly shall result in the Administrative Claim being forever barred and discharged.

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        Each Person asserting an Administrative Expense that is a Fee Claim incurred before the
Effective Date shall be required to file with the Bankruptcy Court, and serve on the Debtor’s
counsel and the U. S. Trustee, a Fee Application within sixty (60) days after the Effective Date.

       A person who is found to have received a voidable transfer shall have thirty (30) days
following the date upon which the order ruling that such transfer is avoidable becomes a Final
Order in which to file a Claim in the amount of such avoided transfer.

       Liabilities incurred from the Petition Date through the Effective Date in the ordinary course
of business shall be paid in the ordinary course of business by the Debtor.

        3.03      Modification to the Plan. In accordance with Bankruptcy Rule 3019, to the
extent applicable, this Plan may be modified or amended upon application of the Debtor, or
corrected prior to the Confirmation Date, provided that notice and an opportunity for hearing have
been given to any affected party. The Plan may be modified at any time after Confirmation and
before the Effective Date, provided that the Plan, as modified, meets the requirements of sections
1122 and 1123 of the Bankruptcy Code and the Bankruptcy Court, after notice and a hearing,
confirms the Plan, as modified, under section 1129 of the Bankruptcy Code, the circumstances
warrant such modification and Debtor consents thereto in writing.

                                  ARTICLE IV
                DESIGNATION OF CLASSES OF CLAIMS AND INTERESTS

      The Debtor designates the following Classes of Claims and Interests pursuant to
Bankruptcy Code Section 1123.

        Class 1 Claims: Allowed Priority Claims other than Priority Tax or Wage Claims.

        Class 2 Claims: Allowed Secured Claims of Carrollton/Farmers Branch ISD.

        Class 3 Claims: Allowed Secured Claim of DJ Barbaria.

        Class 4 Claims: Allowed General Unsecured Claims.

        Class 5 Claims: Allowed Insider Claims.

        Class 6 Equity Interests: Equity Interest Holders.

                                     ARTICLE V
                          TREATMENT OF CLAIMS AND INTERESTS

A. NON-CLASSIFIED CLAIMS. The following Claims are not classified, pursuant to
Bankruptcy Code Section 1123:

              a.     Administrative Expense Claims. Each holder of an Administrative
        Expense Claim under Bankruptcy Code § 503 shall receive either: (i) with respect to

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        Administrative Expense Claims which are Allowed Claims on the Effective Date, the
        amount of such holder’s Allowed Claim in one cash payment, within ten (10) days after
        the Effective Date, from the Debtor; (ii) with respect to Administrative Expense Claims
        which become Allowed Claims after the Effective Date, the amount of such holder’s
        Allowed Claim, in one cash payment from the Debtor within ten (10) days after such Claim
        becomes an Allowed Administrative Expense Claim; or (iii) such other treatment agreed
        upon by the Debtor and such holder.

                         1.        Fee Claims. Each professional person whose retention with respect
                 to this Case has been approved by the Bankruptcy Court or who holds, or asserts,
                 an Administrative Expense Claim that is a Fee Claim shall be required to file with
                 the Bankruptcy Court a final fee application within sixty (60) days after the
                 Effective Date and to serve notice thereof on all parties entitled to such notice. The
                 failure to file timely any such application as required shall result in the Fee Claim
                 being forever barred and discharged. A Fee Claim, with respect to which a Fee
                 Application has been properly filed, shall become an Administrative Expense
                 Claim only to the extent allowed by Final Order. Fee Claims shall be paid either:
                 (i) with respect to Fee Claims which are Allowed Claims on the Effective Date, the
                 amount of such holder's Allowed Claim in one cash payment, within ten (10) days
                 after the Effective Date, from the Debtor; (ii) with respect to Fee Claims which
                 become Allowed Claims after the Effective Date, the amount of such holder's
                 Allowed Claim, in one cash payment from the Debtor within ten (10) days after
                 such Claim becomes an Allowed Fee Claim; or (iii) such other treatment agreed
                 upon by the Debtor and such holder.

                         2.      Administrative Expense Claims Bar Date. Any other person or
                 entity who claims to hold an Administrative Expense Claim (other than a Fee
                 Claim) shall be required to file with the Bankruptcy Court an application within
                 sixty (60) days after the Effective Date and to serve notice thereof on all parties
                 entitled to such notice. The failure to file timely the application as required under
                 this section) of this Plan shall result in the Claim being forever barred and
                 discharged. An Administrative Expense Claim with respect to which an application
                 has been properly filed and to which no timely objection has been filed or an
                 objection has been filed but overruled by the Bankruptcy Court, shall become an
                 Allowed Claim to the extent such Claim is allowed by Final Order.

                 b.       Priority Tax Claims. Priority Tax Claims shall be paid in full over the time
        period from the commencement of payments to the expiration of five (5) years from the
        Petition Date, with interest thereon at the rate of interest of 12% per annum. The Claims
        will be paid in equal monthly installments of principal and interest, commencing on the
        first day of the first month following the Effective Date and continuing on the first day of
        each month thereafter. Interest shall begin to accrue as of the Petition Date. These
        Claimants shall retain their pre- and post-Petition Date statutory Liens securing this Claim
        until it is paid in full.

                c.    Priority Wage Claims. Any holder of an Allowed Priority Wage Claim
        within the meaning of Bankruptcy Code § 507(a)(4) will be paid in full in three (3) equal

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        monthly installments of principal and interest at the rate of 2% per annum. Payments will
        commence on the first day of the first month following the Effective Date and continue on
        the first day of each month thereafter until paid in full.

       Title 28 U.S.C. Section 1930 Fees. The Reorganized Debtor shall pay all post-
Confirmation fees assessed by the Office of the United States Trustee until this Case is closed by
the Court or the Reorganized Debtor is otherwise released from such obligations by the Court.

B. CLASSIFIED CLAIMS. The following Claims are classified pursuant to Bankruptcy Code
Section 1123, and are treated as follows:

General Provisions Regarding Treatment of Claims.

       All Allowed Secured Claimants shall retain all their liens on any property securing their
Claims.

        No Claimant shall be entitled to a pre-payment penalty if their Claim is paid early.

       Should the value of the Collateral securing a Secured Claim be less than the amount of the
Claim, the Claim will be bifurcated into a Secured Claim equal to the value of the Collateral and
an Unsecured Claim for the remainder.

        Class 1: Allowed Priority Claims other than Priority Tax or Wage Claims. These
Claims, if any, will be paid in full in 36 equal monthly installments of principal and interest at the
rate of 2% per annum. Payments will commence on the first day of the first month following the
Effective Date and continue on the first day of each month thereafter until paid in full. These
Claims are Impaired and entitled to vote on the Plan.

        Class 2: Allowed Secured Claims of Carrollton/Farmers Branch ISD. This Claim shall
be paid in full over the time period from the commencement of payments to the expiration of five
(5) years from the Petition Date, with interest thereon at the rate of interest of 12% per annum.
The Claim will be paid in equal monthly installments of principal and interest, commencing on the
first day of the first month following the Effective Date and continuing on the first day of each
month thereafter. Interest shall begin to accrue as of the Petition Date. This Claimant shall retain
its pre- and post-Petition Date statutory Liens securing this Claim until it is paid in full. These
Claims are Impaired and entitled to vote on the Plan.

         Class 3: Allowed Secured Claim of DJ Barbaria. This Claim shall not be paid anything
until all Allowed Non-Insider Creditor Claims in other classes are paid as provided for in this Plan.
Only then shall this Claim be entitled to payment from the Debtor. The Allowed Secured Claim
shall accrue interest at 4.25% per annum from and after the Effective Date. This Claim shall retain
its liens under this Plan.

        Class 4: Allowed General Unsecured Claims: Class 4 Claimants shall receive 10% (ten
per cent) of the amount of their Allowed Claims, payable over 12 months in equal monthly
installments commencing on the first day of the first month following the Effective Date and


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 continuing on the first day of each month thereafter. These Claims are Impaired and entitled to
 vote on the Plan.

        Class 5: Allowed Insider Claims. Class 5 shall consist of the Allowed Claims of Insiders
 of the Debtor. Class 5 Claims shall not be paid under this Plan. Class 5 Claimants are Impaired
 and are deemed to have rejected the Plan, but their claims will not be counted for or against
 Confirmation.

        Class 6: Equity Interests. Class 5 Equity Interests shall be retained and are not Impaired
 under the Plan.

                                       ARTICLE VI
                           MEANS FOR IMPLEMENTATION OF PLAN

        6.01 Implementation of Plan. This Plan will be substantially consummated by the
 commencement of payments as called for above. The Debtor will make all payments required
 under the Plan from available cash and income from its ongoing business operations. Nothing shall
 prevent the Debtor from paying the Creditors with Allowed Claims early.

       Upon the Effective Date, all property of the Debtor and its Estate shall vest in the
 Reorganized Debtor, subject to the Allowed Secured Claims described in this Plan.

                             ARTICLE VII
        TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        7.01 Rejection of Executory Contracts and Unexpired Leases. All executory
 contracts and unexpired leases not assumed by the Debtor as of the Confirmation Date shall be
 deemed as rejected by this Plan.

        7.02 Reservation of Rights. The Debtor shall have the right to assume or reject,
 pursuant to Bankruptcy Code Section 365, prior to the Confirmation Date, any executory contract
 or unexpired lease of real property (to the extent permitted under the Bankruptcy Code).

         7.03 Bar Date for Claims Based on Rejection. If the rejection of an executory contract
 or an unexpired lease results in damages to the other party or parties to such contract or lease, a
 Claim for such damages shall be forever barred and shall not be enforceable against the Plan
 Proponent or their properties or agents, successors, or assigns, unless a proof of Claim is filed with
 the Bankruptcy Court and served upon the Reorganized Debtor, by the earlier of (a) the end of the
 month following the period in which the Effective Date occurs or (b) such other deadline as the
 Court may set for asserting a Claim for such damages. Any Rejection Claim arising from the
 rejection of an unexpired lease or executory contract shall be treated as a General Unsecured
 Claim; provided, however, that any Rejection Claim based upon the rejection of an unexpired lease
 of real property either prior to the Confirmation Date or upon the entry of the Confirmation Order
 shall be limited in accordance with section 502(b)(6) of the Bankruptcy Code and state law
 mitigation requirements. Nothing contained herein shall be deemed an admission that such
 rejection gives rise to or results in a Claim or shall be deemed a waiver of any objections to such
 Claim if asserted.

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                               ARTICLE VIII
             ENFORCEMENT, SETTLEMENT, OR ADJUSTMENT OF CLAIMS

         8.01 The Debtor’s Causes of Action. Except as otherwise released pursuant to the Plan,
 all Claims recoverable under Section 550 of the Bankruptcy Code, all Claims against third parties
 on account of an indebtedness, and all other Claims of any kind or character whatsoever owed to
 or in favor of the Debtor or Reorganized Debtor or the Estate to the extent not specifically
 compromised and released pursuant to this Plan or any agreement referred to and incorporated
 herein, are hereby preserved and retained for enforcement by the Reorganized Debtor for the
 benefit of the Creditors subsequent to the Effective Date. This Plan shall not estop the Debtor or
 Reorganized Debtor from asserting any claim or cause of action whether disclosed or not.

          8.02 Objections to Claims. Any party authorized by the Bankruptcy Code may object
 to the allowance of Pre-Petition Date Claims at any time prior to sixty (60) days after the Effective
 Date and, as to Rejection Claims, at any time prior to sixty (60) days after the filing of any such
 Rejection Claim. Any proof of Claim filed after the Court sets bar dates shall be of no force and
 effect and shall be deemed disallowed. All Contested Claims shall be litigated to Final Order;
 provided, however, that the Debtor or Reorganized Debtor may compromise and settle any
 Contested Claim, subject to the approval of the Bankruptcy Court. Notwithstanding the foregoing,
 a person who is found to have received a voidable transfer shall have thirty (30) days following
 the date upon which the order ruling that such transfer is avoidable becomes a Final Order in which
 to file a Claim in the amount of such avoided transfer.

         No distributions under this Plan shall be made to the holder of a Claim that is in dispute,
 unless and until such Claim becomes an Allowed Claim. If a Claim is Disputed in whole or in part
 because the Debtor or Reorganized Debtor asserts a right of offset against such Claim or
 recoupment against the holder of such Claim, then, if and to the extent the Claim giving rise to the
 offset or recoupment is sustained by Final Order, the Claim in dispute shall be reduced or
 eliminated and, if applicable, the holder of such Claim shall be required to pay the amount of such
 offset or recoupment, less the amount of its Allowed Claim. In addition, any party authorized by
 the Bankruptcy Code, at any time, may request that the Court estimate any contingent, disputed or
 unliquidated Claim pursuant to Section 502(c) of the Bankruptcy Code, regardless of any prior
 objections.
                                            ARTICLE IX
                                  EFFECT OF CONFIRMATION

        9.01 Discharge and Release of Debtor. Pursuant to Bankruptcy Code Section 1141(d),
 confirmation of this Plan does discharge the Debtor.

         9.02 Legal Binding Effect. The provisions of this Plan, pursuant to the Bankruptcy
 Code Section 1141 shall bind the Debtor and all Creditors, whether or not they accept this Plan.
 The distributions provided for Claimants shall not be subject to any Claim by another creditor or
 interest holder by reason of any assertion of a contractual right of subordination.




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        9.03 Discharge. Confirmation of the Plan shall result in the inability to commence or
 continue any judicial, administrative, or other action or proceeding on account of any Pre-Petition
 Date Claims against the Debtor or Reorganized Debtor.

         Except as provided in the Plan, from and after the Confirmation Date, all holders of Claims
 against the Debtor are restrained and enjoined by the Confirmation of the Plan: (a) from
 commencing or continuing in any manner, any action or other proceeding of any kind with respect
 to any such Claim against the Debtor or Reorganized Debtor, or its property; (b) from enforcing,
 attaching, collecting, or recovering by any manner or means, any judgment, award, decree, or order
 against the Assets or the Debtor or Reorganized Debtor on account of such Claims; (c) from
 creating, perfecting, or enforcing any encumbrance of any kind against the Assets, or the Debtor
 or Reorganized Debtor on account of such Claims; (d) from asserting any setoff, right of
 subrogation, or recoupment of any kind against any obligation due the Debtor or Reorganized
 Debtor on account of such Claims; and (e) from performing any act, in any manner, in any place
 whatsoever, that does not conform to or comply with the provisions of the Plan on account of such
 Claims; provided, however, that each holder of a Contested Claim may continue to prosecute its
 proof of Claim in the Bankruptcy Court and all holders of Claims shall be entitled to enforce its
 rights under the Plan and any agreements executed or delivered pursuant to or in connection with
 the Plan. Creditors shall not pursue Claims against non-debtor third parties at the same time as
 their Claims are being paid through the Plan.

         9.04     Satisfaction of Claims and Interests

         Except as otherwise provided by the Plan, the consideration distributed under the Plan shall
 be in complete satisfaction of all Claims of any Creditor against the Debtor, including Claims
 arising prior to the Effective Date.

         9.05     Temporary Injunction

         Except as otherwise expressly provided in, or permitted under, this Plan, the Confirmation
 Order shall provide, among other things, that all Creditors and persons who have held, hold, or
 may hold Claims or Interests against the Debtor, are enjoined on and after the Effective Date as
 long as the Plan is not in default and has not been completed against the: (i) commencement or
 continuation of any judicial, administrative, or other action or proceeding against the Debtor or
 any third-party guarantor on account of Claims against the Debtor; (ii) enforcement, attachment,
 collection, or recovery by any manner or means of any judgment, award, decree, or order against
 the Debtor or any third-party guarantor or any assets or property of same; or (iii) creation,
 perfection, or enforcement of any encumbrance of any kind against the Debtor or any third-party
 guarantor arising from a Claim. Such injunction expires at the end of the Plan term at which time
 all Allowed Claims will have been paid in accordance with the terms of the Plan.

                                          ARTICLE X
                                   MISCELLANEOUS PROVISIONS

        10.01 Request for Relief Under Bankruptcy Code Section 1129. In the event any
 Impaired Class shall fail to accept this Plan in accordance with Bankruptcy Code Section 1129(a),


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 the Debtor reserves the right to, and does hereby request the Bankruptcy Court to confirm the Plan
 in accordance with Bankruptcy Code Section 1129(b).

        10.02 Revocation. The Debtor reserves the right to revoke and withdraw this Plan at
 any time prior to the Confirmation Date.

         10.03 Effect of Withdrawal or Revocation. If the Debtor revokes or withdraws this
 Plan prior to the Confirmation Date, or if the Confirmation Date or the Effective Date does not
 occur, then this Plan shall be deemed null and void. In such event, nothing contained herein shall
 be deemed to constitute a waiver or release of any Claims by or against the Debtor or any other
 person or to prejudice in any manner the rights of the Debtor or any person in any further
 proceedings involving the Debtor.

         10.04 Due Authorization by Creditors. Each and every Claimant who elects to
 participate in the distributions provided herein warrants that it is authorized to accept in
 consideration of its Claim against the Debtor the distributions provided in the Plan and that there
 are no outstanding commitments, agreements, or understandings, express or implied, that may or
 can in any way defeat or modify the rights conveyed or obligations undertaken by it under this
 Plan.

         10.05 Entire Agreement. This Plan, as described herein, the Confirmation Order, and
 all other documents and instruments to effectuate this Plan provided for herein, constitute the entire
 agreement and understanding among the parties hereto relating to the subject matter hereof and
 supersedes all prior discussions and documents.

         10.06 Section 1146 Exemption. Pursuant to Section 1146 of the Bankruptcy Code, the
 issuance, transfer or exchange or any security under this Plan or the making or delivery of any
 instrument or transfer pursuant to, in implementation of or as contemplated by this Plan or the
 transfer of any property pursuant to this Plan shall not be taxed under any federal, state or local
 law imposing a stamp, transfer or similar tax or fee.

         10.07 Provisions Governing Distributions. All payments and distributions under the
 Plan shall be made by the Reorganized Debtor as indicated. Any payments or distributions to be
 made by the Reorganized Debtor pursuant to the Plan shall be made as soon as reasonably
 practicable after the Effective Date, except as otherwise provided for in the Plan, or as may be
 ordered by the Bankruptcy Court. Any payment or distribution by the Reorganized Debtor
 pursuant to the Plan, to the extent delivered by the United States Mail, shall be deemed made when
 deposited into the United States Mail.

       Payments of Cash to be made by the Reorganized Debtor pursuant to the Plan shall be
 made by check drawn on a domestic bank or by wire transfer from a domestic bank.

         Distributions and deliveries to holders of Allowed Claims shall be made at the addresses
 set forth on the proofs of Claim or proofs of interest filed by such holders (or at the last known
 addresses of such holders if no proof of Claim or proof of interest is filed). All Claims for
 undeliverable distributions shall be made on or before the second anniversary of the Effective


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 Date. After such date, all unclaimed property shall remain the property of the Reorganized Debtor
 and the Claim of any other holder with respect to such unclaimed property shall be discharged and
 forever barred.

         Checks issued by the Reorganized Debtor in respect of Allowed Claims shall be null and
 void if not cashed within ninety (90) days of the date of delivery thereof. Requests for reissuance
 of any check shall be made directly to the Reorganized Debtor by the holder of the Allowed Claim
 to whom such check originally was issued. Any claim in respect of such a voided check within
 ninety (90) days after the date of delivery of such check. After such date, all Claims in respect of
 void checks shall be discharged and forever barred, and the amount of such checks shall become
 Unclaimed Property and returned to the Reorganized Debtor.

         No interest shall be paid on any Claim unless, and only to the extent that, the Plan
 specifically provides otherwise.

         10.08 Governing Law. Unless a rule of law or procedure supplied by federal law
 (including the Bankruptcy Code and Bankruptcy Rules) is applicable, or a specific choice of law
 provision is provided, the internal laws of the State of Texas shall govern the construction and
 implementation of the Plan and any agreements, documents, and instruments executed in
 connection with the Plan, without regard to conflicts of law.

         10.09 Default. In the event of a default under the Plan, the affected Claimant or its
 counsel shall provide notice to counsel for the Debtor/Reorganized Debtor. The
 Debtor/Reorganized Debtor shall have twenty (20) days to cure the default. In the event the
 Debtor/Reorganized Debtor fails to cure the default within 20 days after receipt of notice, the
 Claimant shall be entitled to pursue collection of all amounts owed pursuant to state law outside
 of the Bankruptcy Court. The Debtor/Reorganized Debtor shall only be entitled to two notices of
 default. In the event of a third default, the Claimant shall be entitled to pursue collection of all
 amounts owed pursuant to state law outside the Bankruptcy Court without further notice.
         10.10 Notices.

          All notices, requests, elections, or demands in connection with the Plan shall be in writing
 and shall be deemed to have been given when received or, if mailed, five (5) days after the date of
 mailing provided such writing shall have been sent by registered or certified mail, postage prepaid,
 return receipt requested. A copy of all notices provided to the Debtor under this Plan shall be sent
 to: (i) the Debtor at 1430 Century Drive, Carrollton, Texas 75006, and (ii) the Debtor’ attorney,
 Joyce W. Lindauer, Joyce W. Lindauer Attorney, PLLC, 1412 Main Street. Suite 500 Dallas TX
 75202 Telephone: (972) 503-4033; Fax: (972) 503-4034; Email: joyce@joycelindauer.com.

                                          ARTICLE XI
                                   MODIFICATION OF THE PLAN

         11.01 The Debtor may propose amendments to or modifications of this Plan at any time
 prior to Confirmation, upon notice to all parties-in-interest. After Confirmation, the Reorganized
 Debtor may, with approval of the Court and so long as it does not materially or adversely affect
 the interest of creditors, modify to remedy any defect or omission or reconcile any inconsistencies

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 in the Confirmation Order in such manner as may be necessary to carry out the purposes and effect
 of this Plan.

                                          ARTICLE XII
                                   RETENTION OF JURISDICTION

         Notwithstanding confirmation of the Plan or the Effective Date having occurred, the Court
 will retain jurisdiction for the following purposes:

         12.01 Allowance of Claims. To hear and determine the allowability of all Claims upon
 objections to such Claims.

         12.02 Executory Contracts and Unexpired Leases Proceedings. To act with respect
 to proceedings regarding the assumption of any executory contract or unexpired lease of the Debtor
 pursuant to Section 365 and 1123 of the Code and Article VII of the Plan.

         12.03 Plan Interpretation.             To resolve controversies and disputes regarding the
 interpretation of the Plan.

         12.04 Plan Implementation. To implement and enforce the provisions of the Plan and
 enter orders in aid of confirmation and implementation of the Plan.

        12.05 Plan Modification. To modify the Plan pursuant to Section 1127 of the Code
 and applicable Bankruptcy Rules.

        12.06 Adjudication of Controversies. To adjudicate such contested matters and
 adversary proceedings as may be pending or subsequently initiated in the Court against the Debtor.

          12.07 Injunctive Relief. To issue any injunction or other relief as appropriate to
 implement the intent of the Plan, and to enter such further orders enforcing any injunctions or other
 relief issued under the Plan or in the Confirmation Order.

         12.08 Interpleader Action. To entertain interpleader actions concerning assets to be
 distributed or other assets of the Estate.

         12.09 Correct Minor Defects. To correct any defect, cure any omission or reconcile
 any inconsistency or ambiguity in the Plan, the Confirmation Order or any document executed or
 to be executed in connection therewith, as may be necessary to carry out the purposes and intent
 of the Plan, provided that the rights of any holder or an Allowed Claim are not materially and
 adversely affected thereby.

        12.10 Authorization of Fees and Expenses. To review and authorize payment of
 professional fees incurred prior to the Effective Date.




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        12.11 Post-Confirmation Orders Regarding Confirmation. To enter and implement
 such orders as may be appropriate in the event the Confirmation Order is, for any reason, stayed,
 reversed, revoked, modified, or vacated.

        12.12       Final Decree. To enter a final decree closing the Case pursuant to Bankruptcy
 Rule 3022.

         Dated: April 26, 2021.
                                                         Respectfully Submitted,

                                                           /s/ Joyce W. Lindauer
                                                         Joyce W. Lindauer
                                                         State Bar No. 21555700
                                                         Kerry S. Alleyne
                                                         State Bar No. 24066090
                                                         Guy H. Holman
                                                         State Bar No. 24095171
                                                         Joyce W. Lindauer Attorney, PLLC
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                                                         Dallas, Texas 75202
                                                         Telephone: (972) 503-4033
                                                         Facsimile: (972) 503-4034
                                                         ATTORNEYS FOR THE DEBTOR



                                                           /s/ Mike Swerdlow
                                                         Mike Swerdlow in his capacity as Chief
                                                         Financial Officer of the Debtor




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